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Income Statement - 12 Month
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UrbanOne Properties
Properties: 400 Westmoreland - 400 Westmoreland Houston, TX 77006
Fund Type: All
Period Range: Jul 2021 to Jun 2022
Accounting Basis: Modified Accrual
Level of Detail: Detail View
Include Zero Balance GL Accounts: No

Account Name                                                   Jul 2021               Aug 2021               Sep 2021               Oct 2021               Nov 2021               Dec 2021                Jan 2022               Feb 2022               Mar 2022               Apr 2022               May 2022               Jun 2022               Total
Operating Income & Expense
  Income
     INCOME
       RENTAL INCOME
          Rental Income                                                   19,476.00              19,315.00              19,724.00              21,515.00              21,717.00              21,325.00               20,112.78              21,296.42              20,235.00              22,431.00              24,630.00              23,481.00           255,258.20
          Gross Potential Rent                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
          Parking                                                             55.00                  55.00                  30.00                  80.00                  55.00                  80.00                   80.00                  80.00                  80.00                  80.00                  80.00                  80.00               835.00
          Rent Concession                                                   -210.00                -210.00                -210.00                -210.00                -710.00                -900.00                 -210.00                -710.00                -210.00                -210.00                   0.00                -455.00            -4,245.00
          Management Concession                                                0.00                -250.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00              -250.00
       Total RENTAL INCOME                                                19,321.00              18,910.00              19,544.00              21,385.00              21,062.00              20,505.00               19,982.78              20,666.42              20,105.00              22,301.00              24,710.00              23,106.00           251,598.20
       EXPENSE REIMBURSEMENT
          Passthru Insurance                                                  0.00                   0.00                   0.00                   0.00                   0.00                    0.00                  38.00                  19.00                  19.00                  19.00                  28.50                  28.50                152.00
          Passthru Utilities                                                 40.00                  40.00                  20.00                  60.00                  40.00                   40.00                  40.00                  40.00                  40.00                  40.00                  40.00                  40.00                480.00
          Passthru Water and Sewer                                          210.00                 245.00                 284.00                 245.00                 210.00                  245.00                 245.00                 245.00                 280.00                 280.00                 266.94                 325.00              3,080.94
          Passthru Water                                                    210.00                 210.00                 175.00                 245.00                 210.00                  210.00                 175.00                 222.50                 175.00                 175.00                 175.00                 150.00              2,332.50
          Passthru Trash                                                    180.00                 195.00                 220.00                 200.00                 180.00                  195.00                 180.00                 200.36                 195.00                 195.00                 190.97                 215.00              2,346.33
       Total EXPENSE REIMBURSEMENT                                          640.00                 690.00                 699.00                 750.00                 640.00                  690.00                 678.00                 726.86                 709.00                 709.00                 701.41                 758.50              8,391.77
       OTHER INCOME
          Renters Insurance                                                    0.00                   0.00                 -19.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00               -19.00
          Miscellaneous Income                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00               2,580.00                   0.00                   0.00                   0.00                   0.00             2,580.00
          Late Fee                                                             0.00                   0.00                   0.00                 330.00                   0.00                   0.00                    0.00                 270.00                   0.00                   0.00                   0.00                   0.00               600.00
          Admin Fees                                                          11.00                  12.00                  12.00                  13.00                  12.00                  13.00                   12.00                  13.36                  13.00                  13.00                  12.55                  13.00               149.91
       Total OTHER INCOME                                                     11.00                  12.00                  -7.00                 343.00                  12.00                  13.00                   12.00               2,863.36                  13.00                  13.00                  12.55                  13.00             3,310.91
     Total INCOME                                                         19,972.00              19,612.00              20,236.00              22,478.00              21,714.00              21,208.00               20,672.78              24,256.64              20,827.00              23,023.00              25,423.96              23,877.50           263,300.88
     Application Fee Income                                                    0.00                   0.00                   0.00                  45.00                   0.00                   0.00                    0.00                   0.00                   0.00                  55.00                   0.00                  55.00               225.00
     Month-to-Month Fee                                                      135.00                   0.00                -270.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00               135.00
  Total Operating Income                                                  20,107.00              19,612.00              19,966.00              22,523.00              21,714.00              21,208.00               20,672.78              24,256.64              20,827.00              23,078.00              25,423.96              23,932.50           263,660.88
  Expense
     EXPENSES
       Repairs & Maintenance
          Pest Control                                                        0.00                   0.00                 200.00                 129.90                 171.25                    0.00                   0.00                   0.00                   0.00                  171.25                   0.00                129.90                802.30
          Appliance Repair                                                    0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                    0.00                -115.00                  0.00               -115.00
          Landscaping                                                        65.00                 200.00                 120.00                 120.00                 120.00                  120.00                 120.00                 120.00                 120.00                  505.91                 505.91                 42.00              2,158.82
          Plumbing                                                            0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                    0.00                 200.00                  0.00                200.00
          Building Repair                                                     0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                  450.00               2,316.52                  0.00              2,766.52
          Windows                                                             0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                    0.00                   0.00                  0.00                  0.00
          Make Ready                                                          0.00                   0.00                   0.00                   0.00                   0.00                    0.00                 170.00                   0.00                   0.00                    0.00                   0.00                  0.00                170.00
       Total Repairs & Maintenance                                           65.00                 200.00                 320.00                 249.90                 291.25                  120.00                 290.00                 120.00                 120.00                1,127.16               2,907.43                171.90              5,982.64
       Operating Expenses
          Security Monitoring                                                 0.00                    0.00                   0.00                  0.00                    0.00                   0.00                   0.00                    0.00                  0.00                   59.98                  59.98                  0.00                119.96
          Electricity                                                       111.00                  201.85                 111.00                  0.00                  169.81                 125.00                 134.00                  184.63                112.22                  112.22                 125.51                  0.00              1,387.24
          Gas                                                               304.15                  367.76                 620.47                381.14                  205.85                -598.79                 278.60                  336.32                269.97                  512.85                 463.40                226.09              3,367.81
          Water                                                             372.00                  412.00                 488.00                429.00                  468.00                 417.00                 315.00                  358.00                212.09                  322.72                 324.87                  0.00              4,118.68
          W/D Rental                                                          0.00                    0.00                   0.00                  0.00                    0.00                   0.00                   0.00                    0.00                  0.00                    0.00                   0.00                  0.00                  0.00
          Trash Disposal                                                    185.00                  185.00                 149.41                185.00                  178.21                 185.00                 178.21                  359.33                185.00                  165.27                   0.00                  0.00              1,955.43
          Professional Fees                                                   0.00                    0.00                   0.00                  0.00                    0.00                 110.16                   0.00                    0.00                  0.00                    0.00                 345.79                  0.00                455.95
       Total Operating Expenses                                             972.15                1,166.61               1,368.88                995.14                1,021.87                 238.37                 905.81                1,238.28                779.28                1,173.04               1,319.55                226.09             11,405.07
       General and Administrative Expenses
          Maintenance Fees                                                   200.00                 200.00                 200.00                 200.00                 200.00                 200.00                  200.00                 200.00                 200.00                 200.00                 200.00                 200.00             2,400.00
          Management Fees                                                      0.00               1,091.00               1,135.00               1,249.00               1,249.00               1,051.00                1,702.50                 825.25                 879.82                 881.25                 825.00                 855.93            11,744.75
          Payroll                                                            280.00                 280.00                 280.00                 280.00                 280.00                 280.00                  280.00                 280.00                 280.00                 704.00               1,125.00                 704.00             5,053.00
          Legal and Accounting                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
          Property Tax                                                         0.00                   0.00                   0.00                   0.00                   0.00              38,047.68                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00            38,047.68
          Insurance                                                          900.00                 900.00                 900.00                 900.00                 900.00                 900.00                  900.00                 900.00                 900.00                 900.00               1,274.58                 900.00            11,174.58
          Bank Charges Expense                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   35.00                  35.00                   0.00                   0.00                   0.00                   0.00                70.00
          Bank Service Charges                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                  35.00                  35.00                   0.00                   0.00                70.00
       Total General and Administrative Expenses                           1,380.00               2,471.00               2,515.00               2,629.00               2,629.00              40,478.68                3,117.50               2,240.25               2,294.82               2,720.25               3,424.58               2,279.93            68,560.01
  Total Operating Expense                                                  2,417.15               3,837.61               4,203.88               3,874.04               3,942.12              40,837.05                4,313.31               3,598.53               3,194.10               5,020.45               7,651.56               2,677.92            85,947.72

  NOI - Net Operating Income                                              17,689.85              15,774.39              15,762.12              18,648.96              17,771.88              -19,629.05              16,359.47              20,658.11              17,632.90              18,057.55              17,772.40              21,254.58           177,713.16




                                                                                                                                                                                                                                                                                                                                         Exhibit 8
